                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

ANN MARIE ATTRIDGE,                             §
                                                §
                                                §
      Plaintiffs,                               §
                                                §
v.                                              §      Civil Action No. 5:20-cv-00205-OLG
                                                §
COLONIAL SAVINGS, F.A. and                      §
TRANSUNION, LLC,                                §
                                                §
      Defendant.                                §

     MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT

       Defendant Colonial Savings, F.A. (“Colonial” or “Defendant”), pursuant to Federal Rule

of Civil Procedure 12(h)(3), files this its Motion to Dismiss for Lack of Standing and Brief in

Support and respectfully shows as follows:

                                          I. SUMMARY

       Plaintiff Ann Marie Attridge (“Plaintiff”) is a former borrower of Colonial’s on a

mortgage loan. According to Plaintiff, Colonial wrongfully reported to Defendant TransUnion,

LLC (“TransUnion”), a Credit Reporting Agency (“CRA”), that Plaintiff had filed a Chapter 7

bankruptcy petition. For this alleged wrong, Plaintiff has brought claims against Colonial for

violations of the Fair Credit Reporting Act (“FCRA”)

       In response to Colonial’s Motion for Summary Judgment, the Court dismiss Plaintiff’s

claims for intentional violations of the FCRA, but determined that a fact issue remains on

Plaintiff’s claims for negligent violations of the FCRA.

       Plaintiff, however, fails to plead an injury sufficient to provide her with Constitutional

standing. Therefore, her suit should be dismissed for lack of standing.



MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                               PAGE 1
20-000019-510
                                       II. BACKGROUND

       In 2014, Colonial was wrongly informed by a vendor (LexisNexis) that Plaintiff had

received a Discharge in a Chapter 7 bankruptcy case. Exhibit A.             Upon receiving this

information, Colonial performed its own research to determine whether or not Plaintiff had

received a Chapter 7 Discharge. Id.       Its research showed that Plaintiff had never filed a

bankruptcy case. Id. Accordingly, while Colonial’s own internal records (due to its receipt of an

erroneous reporting by LexisNexis) briefly indicated that Plaintiff had filed a bankruptcy

petition, Colonial at that time did not issue a credit report. Id. Subsequently, however, when

Colonial changed the system by which it tracks bankruptcy filings, the research it had previously

conducted showing that Plaintiff had not filed for bankruptcy was missing from Plaintiff’s file.

Id. Accordingly, the new system in August 2015 began erroneously reporting to the Credit

Reporting Agencies that Plaintiff had filed a Chapter 7 bankruptcy petition. Id.

       Specifically, the manner by which this reporting occurred was through the issuance of a

Consumer Information Indicator (“CII”) by Colonial to TransUnion, along with the other credit

reporting agencies (“CRA”). Id. The Code that Colonial issued was an “E”, which according to

the Metro 2 credit-reporting manual, means that the subject debtor had received a Chapter 7

discharge. Id.

       In 2019 Plaintiff applied for employed with Pentagon Federal Credit Union (“Penfed”).

As part of its review of Plaintiff’s employment application, it contracted with HireRight, LLC

(“HireRight”) to perform a background check of Plaintiff, including checking her credit report.

HireRight, in checking Plaintiff’s credit report, discovered that Colonial had reported that

Plaintiff had received a Chapter 7 discharge.       HireRight informed Plaintiff of this credit

reporting. See ECF No. 14, Plaintiff’s First Amended Complaint, Exh. D. Plaintiff alleges that



MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                               PAGE 2
20-000019-510
she complained to HireRight to state that this bankruptcy reporting was an error.   See ECF No.

14, Plaintiff’s First Amended Complaint, p.4, ¶21.

       Plaintiff, on April 23, 2021, also submitted an on-line dispute to Colonial about this

credit reporting and demanded an immediate correction. Exhibit A-2. On this same day,

Plaintiff sent an email to Colonial, making this same demand. Exhibit A-3.

       On April 26, 2019, TransUnion submitted to Colonial an Automated Credit Dispute

Verification (“ACDV”) and identified therein Plaintiff’s dispute about the erroneous bankruptcy

reporting. Exhibit A-4. CRA’s use ACDV’s to inform credit furnishers about disputes that

consumers have made regarding credit reporting. Credit furnishers, upon receipt of an ACDV

research the dispute and then return the ACDV to the applicable CRA with its response. Exhibit

A.

       Colonial, in response to this ACDV, investigated Plaintiff’s dispute and determined that

Plaintiff was correct—she had not received a Chapter 7 discharge as she had not ever filed for

bankruptcy. Exhibit A, A-4. On May 14, 2019, Colonial responded to the ACDV. Id. Colonial

stopped reporting that Plaintiff had received a Chapter 7 Discharge. Exhibit A.

       On April 29, 2019, Colonial issued an Automated Universal Data (“AUD”) to

TransUnion. Exhibit A, A-4. An AUD is the means by which a credit furnisher, such as

Colonial, can inform a CRA, like TransUnion, to correct prior credit reporting from that

furnisher. Exhibit A. In this AUD, for the account history, Colonial changed the reporting for

each of the months indicated from “-“ to “0”. The “-“ meant that no payment was due, which

would be the case if the debt had been discharged in a Chapter 7 bankruptcy. The “0” meant that

Plaintiff had made a timely payment each month.




MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                              PAGE 3
20-000019-510
        In this AUD, Colonial also change the CII Code from “E” to blank”. The “E” means that

the subject debtor had received a Chapter 7 discharge. The reporting of a blank in this section

means that there should be no CII code reported. Exhibit B. The AUD also changed the balance

owed on the debt to $111,086. Exhibit A-4.

        April 30, 2019, Colonial issued its response to TransUnion’s April 26, 2019 ACDV.

DAMA 189. In this ACDV response, Colonial changed the “-“ for the months of payments to

“0” and it changed the CII Code from “E” to blank. It also changed the balance owed from

nothing to $110,846. Exhibit A-5.

        On May 1, 2019 Colonial responded to Plaintiff’s communications to it from April 23,

2019. In this response, Colonial stated that TransUnion’s reporting of the Chapter 7 discharge

order was inadvertent and that Colonial would issue corrective credit reporting so that the

discharge order would no longer be reported. Exhibit A, A-6.

        Despite Colonial’s issuance of the April 29, 2019 AUD and the April 30, 2019 ACDV

TransUnion allegedly continued to report an “E” CII Code. TransUnion erroneously determined

that Colonial had confirmed that the reporting of the “E” CII Code was correct. See ECF No. 14,

Plaintiff’s First Amended Complaint, Exh. E.. TransUnion on June 15, 2019 issued a letter to

Plaintiff stating such. Id.

        TransUnion submitted another ACDV to Colonial on May 31, 2019. Exhibit A, A-7.

Colonial responded to this ACDV on June 14, 2019, again changing the “-“ for each monthly

payment to “0” and changing the CII Code from “E” to blank. Id. Colonial also changed the

balance owed from nothing to $110,605. Id. On June 15, 2019, TransUnion wrote to Plaintiff

falsely stating that Colonial had verified that the prior credit reporting was correct. See ECF No.

14, Plaintiff’s First Amended Complaint, Exh. E.



MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                                 PAGE 4
20-000019-510
        TransUnion apparently continued to report the bankruptcy through the CII Code “E”.

Plaintiff allegedly again submitted a dispute to TransUnion. On October 10, 2019, TransUnion

submitted another ACDV to Colonial, and Colonial responded on October 15, 2019. In this

ACDV response, Colonial, like before, changed the “-“ for the months of payments to “0” and it

changed the CII Code from “E” to blank. Id. On October 16, 2019, Colonial also changed the

balance owed on the loan from nothing to $108,547.

        Regardless, even though TransUnion allegedly did not remove the “E” CII Code, Plaintiff

suffered no damages. Plaintiff in her First Amended Complaint alleges:

        As a result of Colonial’s violations of the FCRA, Plaintiff suffered and continues to
        suffer damages, including damage to her reputation, stress, fear, worry, distress,
        frustration, humiliation, and embarrassment.

        Plaintiff’s First Amended Complaint, p.7, ¶40.

        In response to Colonial’s Motion for Summary Judgment, wherein Colonial alleged inter

alia, that Plaintiff suffered no damages, Plaintiff acknowledged that she suffered no financial

injury. She was not denied any credit applications, and she was received the job offer that she

was seeking. She makes no allegation that her credit score was reduced. All she complains

about is mental anguish damages due to her alleged embarrassment and concern about the credit

reporting and the time she spent pursuing her complaints about Colonial. Under the United

States Supreme Court’s authority in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), these

allegations are insufficient for her to have Article III standing to bring her claims in this suit.

                                        III.    STANDARD

        Article III of the United States Constitution limits the jurisdiction of federal courts to

deciding only actual "cases" and "controversies." Lujan v. Defs. of Wildlife, 504 U.S. 555, 559,

112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992). The doctrine of standing sets apart those "cases" and



MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                                      PAGE 5
20-000019-510
"controversies" that are of the justiciable sort referenced in Article III. Id. at 560. "[T]o satisfy

Article III's standing requirements, a plaintiff must show (1) it has suffered an 'injury in fact' that

is (a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2)

the injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as

opposed to merely speculative, that the injury will be redressed by a favorable decision." Friends

of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81, 120 S. Ct. 693, 145

L. Ed. 2d 610 (2000). "To establish injury in fact, a plaintiff must show that he . . . suffered 'an

invasion of a legally protected interest' that is 'concrete and particularized' and 'actual or

imminent, not conjectural or hypothetical.'" Spokeo, Inc. v. Robins, 578 U.S. 330, 339, 136 S. Ct.

1540, 194 L. Ed. 2d 635 (2016) (quoting Lujan, 504 U.S. at 560). "For an injury to be

particularized, it must affect the plaintiff in a personal and individual way." Id. (internal

quotation marks omitted). For an injury to be concrete, the Supreme Court has "emphasized

repeatedly" that it "must be concrete in both a qualitative and temporal sense. The complainant

must allege an injury to himself that is distinct and palpable, as opposed to merely abstract."

Whitmore v. Arkansas, 495 U.S. 149, 155, 110 S. Ct. 1717, 109 L. Ed. 2d 135 (1990) (internal

quotation marks and citation omitted).

                              IV. ARGUMENT AND AUTHORITIES

       The injury-in-fact requirement for standing "asks whether the plaintiff has suffered an

invasion of a legally protected interest that is concrete and particularized and actual or imminent,

not conjectural or hypothetical." Fox v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1151-52

(7th Cir. 2020). A concrete injury "must actually exist" and must be "real and not abstract."

Spokeo, Inc., 578 U.S. at 340.




MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                                     PAGE 6
20-000019-510
       In Spokeo, the Supreme Court held that "Article III standing requires a concrete injury

even in the context of a statutory violation." 578 U.S. at 341. The United States Supreme Court

has held that a breach of the FCRA does not, by itself, cause an injury in fact. TransUnion LLC

v. Ramirez, 141 S. Ct. 2190, 2205 (2021). The Fifth Circuit recently followed Ramirez to apply

this same reasoning in an FDCPA case, namely, that a claim for violations of the statute, by

itself, is not sufficient to have standing to sue. Perez v. McCreary, Veselka, Bragg & Allen, P.C.,

45 F.4th 816, 823 (5th Cir. 2022).

       The Fifth Circuit in Perez considered a very similar complaint for damages as what

Plaintiff brings in the instant case. In Perez, the plaintiff complained that a law firm violated the

FDCPA by sending him a demand letter on a debt the recovery on which was barred by the

statute of limitations. To demonstrate standing, the plaintiff in Perez made several arguments.

First, she contended that she suffered mental anguish due to a risk of financial harm by being

pressured to pay a debt she was no longer legally required to pay. Id. at 824. The Fifth Circuit

disagreed, holding that, unless this risk materialized, then there was no harm. Id. Similarly, in

the instant case, Plaintiff cannot state a claim for harm because she feared that the alleged

improper credit reporting might affect her in the future. There is no allegation by Plaintiff that it

ever did. Therefore, under Perez, Plaintiff’s speculative concern about a possible negative

consequence does not give her standing.

       In Perez, the plaintiff also alleged that she had standing because she was “confused”

about the demand letter. Id. at 825. But as the Fifth Circuit held in Perez, mere confusion is not

enough to provide Article III standing. The plaintiff in Perez analogized to a fraud claim to

contend that the defendant’s alleged misconduct should be actionable for misrepresenting to her

the nature of a debt. The Fifth Circuit rejected this theory, holding that the standing in a fraud



MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                                   PAGE 7
20-000019-510
claim comes from the plaintiff’s suffering an actual loss. As the plaintiff in Perez did not pay

anything in response to the letter, she suffered no harm. Here, Plaintiff, for all of her allegations

of a concern about what might happen, suffered no harm and thus has no injury. See Pennell v.

Glob. Tr. Mgmt., LLC, 990 F.3d 1041, 1045 (7th Cir. 2021) (holding that "stress and confusion,"

"frustration," and worry were insufficient for standing under FDCPA); Wadsworth v. Kross,

Lieberman & Stone, Inc., 12 F.4th 665, 668 (7th Cir. 2021) (feeling of stress, annoyance, and

intimidation are not enough to establish standing for an FDCPA claim).

       Allegations of "great stress, mental anguish, anxiety, and distress” are insufficient to

establish standing under Ramirez. Maddox v. Bank of New York Mellon Tr. Co., N.A., 19 F.4th

58, 66 (2d Cir. 2021).      This is especially so when the allegations of mental anguish are

“incommensurate” with the alleged misconduct alleged in the suit. Id. Here, Plaintiff’s claims

of extreme mental anguish, when she has suffered no financial injury, are disproportionate to

alleged misconduct of Colonial.

       The plaintiff in Perez further argued that she suffered a loss because of all of the time she

had to spend in consulting with a lawyer as a result of the alleged violation of the FDCPA. The

Fifth Circuit, while not completely rejecting this argument, cited with approval to a decision by

the Seventh Circuit, which held that the time lost to consult with a lawyer does not provide

standing to sue. Id. (citing Brunett v. Convergent Outsourcing, Inc., 982 F.3d 1067, 1069 (7th

Cir. 2020)).   But even if one were to consider pre-Ramirez and Spokeo cases, Plaintiff’s

complaints about out-of-pocket expenses and lost time do not provide her with standing. For

expenses to provide standing, the United States Supreme Court has held that nominal expenses,

by themselves, do not provide standing. Uzuegbunam v. Preczewski, 141 S. Ct. 792, 802 (2021)

Reimer v. LexisNexis Risk Sols., Inc., No. 3:22-cv-153-DJN, 2022 U.S. Dist. LEXIS 165824,



MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                                   PAGE 8
20-000019-510
2022 WL 4227231, at *8 (E.D. Va. Sept. 13, 2022)1.               The plaintiff must still establish a

particularized injury to have standing to bring a claim. Here, the only particularized injury is

Plaintiff’s alleged mental anguish which, as shown above, is insufficient to provide this Court

with Constitutional standing.

        An allegation of lost time can provide standing if the claim is that the time spent actually

took away from other income-generating opportunities. See Milisavljevic v. Midland Credit

Mgmt., LLC, 581 F. Supp. 3d 1020, 1027 (N.D. Ill. 2022) (finding that a plaintiff's general

allegation of economic harm was insufficient for Article III standing because plaintiff does not

allege that he expended time that would have otherwise gone to gainful employment). But the

loss of time, in and of itself, is not recoverable under the FCRA. Slyzko v. Equifax Info. Servs.

LLC, No. 2:19-cv-00176-JAD-EJY, 2020 U.S. Dist. LEXIS 52265 *28, 2020 WL 1433518 (D.

Nev. Mar. 23, 2020) (holding that FCRA does not permit recovery for mere time spent

addressing alleged incorrect credit reporting).

        Finally, in Perez Plaintiff alleged that her privacy interests were affected by the sending

of that letter. Id. at 826. The Fifth Circuit disagreed. It determined that the FDCPA was meant

to provide a remedy for consumers who were the subject of abusive debt collection practices.

The one demand latter at issue in Perez, held the Court, did not rise to the level of harassing

behavior. Here, Plaintiff complains about a credit report that went out in 2019 and her requests

for that reporting to change. She was not a victim of harassing or abusive conduct, and as shown

above, she suffered no financial injury. There is nothing alleged by Plaintiff in this case that

would be akin to the “economic harm that consumers suffer[] due to aggressive and unfair

attempts to collect their debts”, for which the FDCPA allows for a recovery. Plaintiff here is


1
 Luken v. Lynaugh, No. 95-20156, 1996 U.S. App. LEXIS 42731 (5th Cir. 1996) (award of $200 deemed nominal
damages).

MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                                       PAGE 9
20-000019-510
complaining about one credit reporting. That is not enough to state a cognizable injury to have

standing to bring a claim under the FCRA. Again, as the Supreme Court said in Ramirez, "the

mere existence of inaccurate information in a database is insufficient to confer Article III

standing." TransUnion, 141 S. Ct. at 2209.

       Plaintiff lacks standing to bring her FCRA claims because she has not suffered an injury

as required by Article III of the United States Constitution; accordingly, her claims should be

dismissed.

       WHEREFORE, PREMISES CONSIDERED, Colonial asks that its Motion to Dismiss be

granted and that Plaintiff’s claims be dismissed for want of jurisdiction. Colonial requests all

other relief to which it may be entitled.

                                                   Respectfully submitted,

                                                By: /s/ Mark D. Cronenwett
                                                    MARK D. CRONENWETT
                                                    Attorney in Charge
                                                    Texas Bar No. 00787303
                                                    mcronenwett@mwzmlaw.com

                                                MACKIE WOLF ZIENTZ & MANN, PC
                                                14160 N. Dallas Parkway, Suite 900
                                                Dallas, Texas 75254
                                                (214) 635-2650
                                                (214) 635-2686 (Fax)

                                                 ATTORNEYS FOR DEFENDANT
                                                 COLONIAL SAVINGS, FA




MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                             PAGE 10
20-000019-510
                              CERTIFICATE OF SERVICE

       I hereby certify that on January 3, 2023, a true and correct copy of the foregoing was
served via ECF notification on the following counsel of record:

       William M. Clanton
       Law Office of Bill Clanton, PC
       926 Chulie Drive
       San Antonio, TX 78216
       210-226-0800
       210-338-8660 FAX
       bill@clantonlawoffice.com

                                                   /s/ Mark D. Cronenwett
                                                  MARK D. CRONENWETT




MOTION TO DISMISS FOR LACK OF STANDING AND BRIEF IN SUPPORT                           PAGE 11
20-000019-510
